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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA


 PERKINS COIE LLP,

                      Plaintiff,
                                                     Case No. 1:25-cv-00716 (BAH)
 v.
                                                     Judge Beryl A. Howell
 U.S. DEPARTMENT OF JUSTICE, et al.,

                      Defendants.


                                          ORDER

       Upon consideration of plaintiff’s Consent Motion to Adopt Streamlined Procedure for

Amended Complaint and Pending Motions, ECF No. 174, it is hereby--

       ORDERED that plaintiff’s Consent Motion to Adopt Streamlined Procedure for

Amended Complaint and Pending Motions, ECF No. 174, is GRANTED; it is further

       ORDERED that by 5:00 p.m. on Wednesday, April 30, 2025, plaintiff shall file a new

motion for summary judgment and declaratory and permanent injunctive relief, and defendants

shall file a new motion to dismiss the Amended Complaint (the “New Motions”). Plaintiff shall

also file a new proposed order amending ECF No. 167-1 to reflect the addition of the new

defendants in the Amended Complaint. It is further

       ORDERED that the parties shall not submit new briefing in support of, opposition to, or

in reply to the New Motions. Instead, the parties’ prior briefing (including accompanying

declarations and exhibits) directed to plaintiff’s Motion for Summary Judgment and Declaratory

and Permanent Injunctive Relief, ECF No. 39, and defendants’ Motion to Dismiss and for

Expedited Judgment, ECF No. 43, (the “Existing Briefs”) shall apply to the New Motions without

the need for renewed briefing or oral argument. The parties’ arguments (including accompanying
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declarations and exhibits) set forth in their respective Existing Briefs and at the April 23, 2025 oral

argument shall apply to the New Motions as if they had been directed to the New Motions in

the first instance, and all parties to the Amended Complaint shall be bound by the Court’s

ruling on the New Motions.          This includes the arguments in Defendants’ Opposition to

Plaintiff’s Motion for Leave to Amend (ECF No. 171), which shall be deemed to apply to the

Amended Complaint, and which are not waived by the government’s agreement to this

streamlined procedure. It is further

       ORDERED that in lieu of physically serving each new defendant, plaintiff will serve

counsel for defendants, Mr. Lawson, who will accept service by email for each new defendant

subject to each agency’s approval of substitute service. Counsel for defendants shall promptly,

and within no more than ten (10) days of service, notify plaintiff if any agency or officer requests

individual service. It is further

       ORDERED that in the interests of judicial economy, Plaintiff is not required to include

the address information required by Local Civil Rule 5.1(c) in the Amended Complaint and shall

instead file a separate notice containing such information by Wednesday, April 30, 2025.

       SO ORDERED.
          April 29, 2025
Dated: ____________________



                                                               ______________________________
                                                               BERYL A. HOWELL
                                                               United States District Judge




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